            Case 1:18-cv-01794-PWG Document 31 Filed 10/01/19 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND

        CHAMBERS OF                                                          6500 CHERRYWOOD LANE
       PAUL W. GRIMM                                                       GREENBELT. MARYLAND 20770
UNITED STATES DISTRICT JUDGE                                                        (301) 344-0670
                                                                                  (301) 344-3910 FAX




                                         September 30,2019

RE: Camper v. National Security Agency
    8: 18-cv-01794-PWG

                                         LETTER ORDER

Dear Counsel:

       This order addresses Plaintiffs' Motion for Reconsideration, ECF No. 28, of this Court's
Memorandum Opinion and Order granting Defendants' motion to dismiss, ECF No. 27. For the
reasons discussed below, Plaintiffs' Motion for Reconsideration is DENIED.

        On June 18, 2019, Plaintiffs filed an eight-count complaint accusing the NSA of a
campaign to surveil and harass them. ECF No. 1. Plaintiffs are represented by counsel, who
conceded that most of the claims were not justiciable or were improperly pleaded. ECF No. 24.
These claims were dismissed without prejudice. ECF No. 25. Plaintiffs' sole remaining claim,
which sought a court order pursuant to the Privacy Act of 1974 requiring the NSA to make records
available to their lawyer and to delete "all false and defamatory material" those records might
contain, was denied. ECF No. 27. This Court also denied Plaintiffs' request for leave to amend
to add "John Doe" Bivens defendants to its constitutional claims in counts 7 and 8. Id.

        On September 23, 2019, Plaintiffs filed a "Motion for Limited Reconsideration" under
Federal Rule of Civil Procedure 60(b). ECF No. 28. The Motion requests a "clarification" as to
whether the Court's order dismissing this case applies to claims against independent contractors.
See id. at 1-2. The Motion also states the claims are not frivolous because they were experienced
by both plaintiffs and argues that the Court did not properly consider the affidavit submitted by a
former NSA employee, Karen Melton Stewart. Id. at 2.

       Federal Rule of Civil Procedure 60(b) permits a court to relieve a party from a final
judgment for the following reasons:

         (1) mistake, inadvertence, surprise, or excusable neglect;

         (2) newly discovered evidence that, with reasonable diligence, could not have been
         discovered in time to move for a new trial under Rule 59(b);

         (3) fraud (whether previously called intrinsic or extrinsic), misrepresentation,     or
         misconduct by an opposing party;
          Case 1:18-cv-01794-PWG Document 31 Filed 10/01/19 Page 2 of 2



       (4) the judgment is void;

       (5) the judgment has been satisfied, released, or discharged; it is based on an earlier
       judgment that has been reversed or vacated; or applying it prospectively is no longer
       equitable; or

       (6) any other reason that justifies relief.

Fed. R. Civ. Pr. 60(b). Plaintiffs have offered no basis for relief under Rule 60(b). With respect
to Plaintiffs' request for "clarification," I note that the Court's Orders of April 4, 2019 and August
15,2019, dismissed all of Plaintiffs' claims. ECF Nos. 25, 27.

       Although informal, this is an Order of the Court and shall be docketed as such.


                                                               Sincerely,

                                                                       lSI
                                                               Paul W. Grimm
                                                               United States District Judge
